65 F.3d 167
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Floyd N. SIMMS, Petitioner,v.UNITED STATES SENTENCING COMMISSION, Respondent.
    No. 95-1775.
    United States Court of Appeals, Fourth Circuit.
    Sept. 11, 1995.
    
      On Petition for Review of an Order and Recommendation of the United States Sentencing Commission.
      Floyd N. Simms, petitioner pro se.
      Robert David Kamenshine, Leonard Schaitman, United States Department of Justice, Washington, DC, for respondent.
      U.S.S.C.
      PETITION DISMISSED.
      Before WIDENER, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Petitioner filed in this court a petition for review of the February 1995 Special Report to Congress prepared by the United States Sentencing Commission (the "Commission").  The Report recommends, in part, that the Commission reconsider the present 100 to 1 cocaine base to cocaine powder ratio contained in the guidelines.  United States Sentencing Commission, Guidelines Manual, Sec. 2D1.1 (Nov.1994).  This court is without jurisdiction to review the rulemaking process of the Commission.  Washington Legal Found. v. United States Sentencing Comm'n, 17 F.3d 1446, 1450 (D.C.Cir.1994);  Andrade v. United States Sentencing Comm'n, 989 F.2d 308, 309 (9th Cir.1993).  Accordingly, we deny Petitioner's motion for leave to proceed in forma pauperis, grant the Commission's motion to dismiss, and dismiss the petition.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      PETITION DISMISSED.
    
    